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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DISTRICT OF COLUMBIA

                  v.                                            Case No: 21-cv-03267 (APM)
PROUD BOYS INTERNATIONAL, LLC, et al.
                 Defendants.

          DEFENDANT HENRY TARRIO’S MOTION TO JOIN MOTIONS TO
         DISMISS AMENDED COMPLAINT FILED THROUGH JUNE 17, 2022

      Defendant Henry Tarrio moves to join in the five motions to dismiss the amended complaint

(ECF No. 94) in the above-captioned case (i.e., ECF Nos. 97, 108, 109, 110 and 111). He asks to

join these filed motions to the extent they pertain to allegations against him. Tarrio’s unexpected

incarceration on March 7, 2022 drives this motion. He cannot as he once hoped fully defend against

or add to the record of four January 6 civil cases against him--by the District of Columbia, Capitol

Hill police officers, members of Congress, historic churches, etc.--when he is locked up, broke,

jobless, and getting ready for a trial on the criminal docket that commences August 8, 2022.

      Nonetheless, Tarrio is keenly interested in participating in this civil case and others like it

to the extent his time and resources allow. He wants to tell his side of the January 6 story.

      However, due to a client-based conflict of interest raised by the undersigned days after

Tarrio was reduced to custody, the undersigned will withdraw from Tarrio’s representation in all

civil court cases as soon as new civil litigation counsel can be engaged. New counsel is expected

to enter an appearance relatively soon. The process of engaging new counsel has been slowed and

made more difficult by Tarrio’s being constantly shuttled between several state and federal jails in

the South, Midwest and up and down the Eastern seaboard between March 7 and June 6, 2022.

      Finally, by communications on June 17, counsel for plaintiff informed the undersigned that
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plaintiff took “no position” on whether this response to the amended complaint could be filed three

days late. Therefore, this motion is now being filed.

      Accordingly, for good cause hopefully shown, defendant Tarrio requests leave to join in the

motions to dismiss at ECF Nos. 97, 108, 109, 110 and 111.

                                             Respectfully submitted,
                                             COUNSEL FOR DEFENDANT HENRY TARRIO
Dated: June 20, 2022                         By: /s/ J. Daniel Hull
                                             JOHN DANIEL HULL
                                             DC Bar No. 323006
                                             California Bar No. 222862
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on June 20, 2022 he served a true and correct copy of the

foregoing Defendant Tarrio’s Motion to Join Motions to Dismiss Amended Complaint Filed

Through June 17, 2022 upon all counsel of record via the Electronic Case Filing (ECF) system.


                                                   By: /s/ J. Daniel Hull
                                                   JOHN DANIEL HULL
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                                                   California Bar No. 222862
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